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             IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION


BETTY FRANCOIS,

      Plaintiff,

v.                                             Case No.: 4:20cv554-MW/MAF

TALLAHASSEE FCI,

     Defendant.
___________________________/

                        ORDER ACCEPTING AND ADOPTING
                         REPORT AND RECOMMENDATION

      This Court has considered, without hearing, the Magistrate Judge's Report

and Recommendation. ECF No. 7. Upon consideration, no objections having been

filed by the parties,

      IT IS ORDERED:

      The report and recommendation is accepted and adopted as this Court’s

opinion. The Clerk shall enter judgment stating, “Plaintiff’s claims are DISMISSED

for failure to comply with court orders pursuant to Fed. R. Civ. P. 41(b) and N.D.

Fla. Loc. R. 41.1 and for want of prosecution. Plaintiff has failed to state a claim for

relief.” The Clerk shall note on the docket that this case is dismissed pursuant to 28




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U.S.C. § 1915(e)(2)(B)(ii), and the Clerk shall close the file.

      SO ORDERED on March 11, 2021.

                                        s/Mark E. Walker
                                        Chief United States District Judge




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